Case 1:03-md-01570-GBD-SN Document 2981-1 Filed 07/29/15 Page 1 of 25

EXHIBIT A
Case 1:03-md-01570-GBD-SN Document 2981-1 Filed 07/29/15 Page 2 of 25
Case 1:03-md-01570-GBD-FM Document 2906 Filed 10/31/14 Page 1 of2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD/FM)

This document relates to: Estate of John P. O'Neill, Sr., ef a/. v. Republic of Iraq, ef
al., 04-CV-1076 (GBD)

AFFIDAVIT OF SERVICE

STATE OF NEW YORK )
COUNTY OF NEW YORK _
Jerry S. Goldman, being duly sworn, deposes and says:

1. | am an attorney admitted to practice in the above captioned matter, and a
member of the law firm Anderson Kill P.C. | am familiar with the facts and
circumstances in this action.

2. The O'Neill Plaintiffs’ Summons(es), Complaint(s) and Notice(s) of Suit, and
transiations of each, filed in the above-captioned matter were served upon
Defendants the Islamic Republic of Iran; Ali Fallahian, Iranian Minister of
Intelligence and Security; Iranian Revolutionary Guard Corp.; Ayatollah Ali
Hoseini-Khamenei, Mohammed Bager Zolqadr, Iranian Revolutionary Guards
Corp.; Iranian Revolutionary Guard Corp-Quds Force; and Iranian Ministry of
Intelligence and Security (collectively, the “Iran Defendants”).

3. Service on the Iran Defendants was effectuated pursuant to the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608 et seq. by sending Complaints,

Summonses and Notices of Suit to J. Michael McMahon, Clerk of Court for the

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Case 1:03-md-01570-GBD-SN Document 2981-1 Filed 07/29/15 Page 3 of 25
Case 1:03-md-01570-GBD-FM Document 2906 Filed 10/31/14 Page 2 of 2

Southern District of New York, who forwarded said documents to Mr. Edward
Betancourt, Director of Special Consular Services for the United States
Department of State (the “State Department”), by registered mail, return receipt
requested. Exhibit A is a June 13, 2005 letter from Joshua M. Ambush, Esq. to
J. Michae! McMahon transmitting the relevant documents to the Clerk of the
Court for submission to the State Department. Exhibit B contains true and

- correct copies of seven Clerk’s Certificates of Mailing, showing delivery to the
State Department in relation to each of the seven Iran Defendants.

4. The State Department served Iran Defendants with the assistance of the Foreign
Interests Section of the Embassy of Switzerland in Tehran, Iran. The Foreign
Interests Section delivered the relevant documents to the Iranian Ministry of
Foreign Affairs under cover of diplomatic note. The documents were received on
June 24, 2005, Exhibit C contains an excerpt from the 03-MD-1570 docket
which indicates when the documents were received and which Certificate of
Mailing corresponds with each Iran Defe t served.

Dated: October 31, 2014
New York, NY

try. Goldman, Esquire
NDERSON KILL P.C.
1251 Avenue of the Americas

"? Floor
ew York, NY 10020

Sworn to before me this 2 |

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EXHIBIT A

Case 1:03-md-01570-GBD-SN Document 2981-1 Filed 07/29/15 Page 5 of 25
Case 1:03-md-01570-GBD-FM Document 2906-1 Filed 10/31/14 Page 2 of 3

LAW OFFICES -
JOSHUA M. AMBUSH, LLC per
600 REISTERSTOWN ROAD
SUITE 200-A
BALTIMORE, MARYLAND 21208
TEL: 410-484-2070
* FAX: 410-484-9330

June 13, 2005

J. Michael McMahon

Clerk of Court

Daniel Patrick Moynihan United states Courthouse
500 Pear! Street

New York, NY 10007-1312

RE: In Re Terrorist Attacks of September 11, 2001
03 MDL 1570 (RCC)
Estate of John P. O'Neill et al, vy. Republic of Iraq et al.
04-CV-1076-(RCC) MDL 1570

Dear Mr. McMahon:

This is to request that you serve Foreign Sovereign Defendants pursuant to
the Foreign Sovereign Immunities Act, 28 USC § 1608 (a) (4). I have been
advised by the State Department, Division of Consular Affairs that service under
(a) (1)-(3) would be futile in this case as the government of Iran will not accept
service from a U.S. citizen and the government of Iraq has not established a
Foreign Ministry to accept service from U.S. citizens, Therefore, I am requesting
that you proceed by serving the State Department with the enclosed documents so

that they may perfect service under (a) (4).
The defendants to be served are as follows:

1. Ali Fallahian, Iranian Minister of Intelligence and Security;

2, Ayatollah Ali Hoseini-Khamenei, aka Ayatollah Ali Khamenei,
Iranian Supreme Leader;

3. Iranian Ministry of Intelligence and Security (MOIS);

4. Iranian Revolutionary Guard Corp-Quds Force aka Qoods Division
aka Jerusalem Force;

5. Iranian Revolutionary Guard Corp (IRGC);

6. Islamic Republic of Iran

Case 1:03-md-01570-GBD-SN Document 2981-1 Filed 07/29/15 Page 6 of 25
Case 1:03-md-01570-GBD-FM Document 2906-1 Filed 10/31/14 Page 3 of 3

7. Mohammed Bager Zolqadr, Iranian Revolutionary Guards Corp,
Deputy Commander Brig, Gen.

Each of these defendants are to be served at the Iranian Ministry of
Foreign Affairs, United Nations Street;-Tehran, Iran.
‘
The Republic of Iraq is to be served by the State Department via the U.S.
Embassy in Baghdad at the place and in the manner of their choosing.

+

Enclosed you will find two complete sets of documents for each
defendant, one for service and one for the court's file. The documents include a
complaint in English, and a translated complaint with verification in Farsi for the
Iranian defendants and Arabic for the Iraqi defendant; Notice of Suit in English
the respective official language, and a summons in English and the respective

official language.

Also, please find enclosed two checks in the amount of $735.00 each to
cover the service fee to the respective U.S. Embassies.

Your assistance in expediting this request is greatly appreciated. If you
have any questions or if additional materials or information are needed, please
cal] either Jerry Goldman at 917-273-7658 or Fred Salek at 914-241-5579,

Sincerely,

Joshua M, Ambush

Case-1:03-md-01570-GBD-SN- Document 2981-1 Filed 07/29/15 Page 7 of 25

Case 1:03-md-01570-GBD-FM Document 2906-2 Filed 10/31/14 Page 1of15

EXHIBIT B

Case 1:03-md-01570-GBD-SN Document 2981-1 Filed 07/29/15 Page 8 of 25
Case 1:03-md-01570-GBD-FM Document 2906-2 Filed 10/31/14 Page 2 of 15

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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1 04 C. 1076 (RCC) *

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Case 1:03-md-01570-GBD-FM Document 2906-2 Filed 10/31/14 Page 4 of 15

Case 1:03-md-01570-GBD-FM Document 1128 Filed 06/17/05 Page-tof2. —

UNITED STATES DISTRICT CUOURI
SOUTHERN DISTRICT OF NEW YORK

Estate of John P. O'Neill, et al

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Pursuant to the foreipn sovereign imnmnitles act (28 U.S.C, §1608(a)(4), filed and issued herein on the
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See attached lor listing of Defendants

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Dated: Mow Vorh, NY

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Case 1:03-md-01570-GBD-FM Document 2906-2 Filed 10/31/14 Page 5of15

Case 1:03-md-01570-GBD-FM Document 1128 Filed 06/17/05 Page 2 of 2

3. Mohammed Bager Zolgadr, Iranian Revolutionary Guariis Corp,
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Case 1:03-md-01570-GBD-EM Document 1129_ Filed 06/17/05. Page jof2 =

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Estate of Johr. P, O'Neill, et al

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Case 1:03-md-01570-GBD-FM—Document 1129 __ Filed 06/17/05 Page 2 of 2

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7. Mohammed Bager Zolqadr, lanian Revolutionary Guards Corp.
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Case 1:03-md-01570-GBD-FM Document 1130 Filed 06/17/05 Page tof2-

UNITED STATES DISTRICT COURT
SOUTIICRN DISTRICT OF NEW YORK

Estate of Jahn P. O'Neill, ot al CERTIFICATE OF MAILING

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Pursuant to the foreign sovereign immunities act (28 U.S.C. §1603(a)(4), filed and issued herein on the
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7, Mohammed Bager Zolqadr, Iranian Revolutionary Guards Corp.
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The Republic of Iraq is to be served by the Stale Departmant via the U.8.
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Case 1:03-md-01570-GBD-FM Document 1134 Filed 06/17/05 Page 2 of 2

7. Mohammed Bager Zolgadr, lranian Revolutionary Guards Corp,
Deputy Commander Brig. Gen.

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Case 1:03-md-01570-GBD-FM Document 1132. Filed 06/17/05 Page 1 of 2
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UNITED STATES DISTRICT COURT
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Dec, 20, 2004

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7. Mohammed Bager Zolqadr, Iranian Revolutionary Guards Corp.
Deputy Commandor Brig, Gen.

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Case 1:03-md-01570-GBD-FM Document 2906-2 Filed 10/31/14 Page 14 of 15

Case 1:03-md-01570-GBD-FM Document 14133_ Elled 06/17/05 Page 1 of 2

UNITED 6TATLS DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

Bstete of Jobn P, O'Neill, eral CERTIFICATE OF MAILING

Plaintiff,

Tho Republic ef Traq, ural

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Defendants..

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1, J, Michael McMshon, Clerk of Court for the Souther Digwict of New York, do hereby certify that on dhe
June 17, 2005

Tserved the

SUMMONS
COMPLAINT
NOTICE OF SUT
CERTIFICATE OF ALYHENTICITY

Pursuant to the foreign sovercign immunities act (28 U.S.C. §1608(3)(4), filed and issucd herein on the
Dee. 20, 2004

by mailing by Registered mail, return receipt requested, at the Linited States Post Office, Chinatown Station, New
York N.Y. a cony of cach tharanf, securely analawesd inn poet-paid wrapper addeagead tw:

See attached for listing of Defendants

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Case 1:03-md-01570-GBD-FM Document 2906-2 Filed 10/31/14 Page 15 of 15

Case 1:03-md-01570-GBD-FM Document 1133 Filed 06/17/05 Page 2 of 2 ——

7, Mohammed Bager Zolqadr, Iranian Revolutionary Guards Corp.
Deputy Commander Brig. Gen.

Bach of these defendants are to be served at the Iranian Ministry oF
Fyseigu Affaica, United Nations Strest, Tehran, Tran.

The Republic of Iraq is to be served by the State Department via the U5,
Embasey in Baghdad at the place and in the manner of their choosing,

Eaclosed you will find two complete sets of documents for esch
Uctendant, one lor service pnd one Tor me courts We. The dpcummts induc a
complaint in English, and a tranetated complaint with verification in Farsi for the
Jranjan defendants and Avabic for the Iraqi defendant; Notice of Suit in Bnghish

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Case 1:03-md-01570-GBD-FM Document 2906-3 Filed 10/31/14 Page 1 of 4

EXHIBIT C

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Case 1:03-md-01570-GBD-FM Document 2906-3 Filed 10/31/14 Page 2 of 4

06/17/2005 | 1127 |CLERK CERTIFICATE OF MAILING of Summons & Third Amended
Complaint mailed to Islamic Republic of Iran at the following address:
Islamic Republic of Iran c/o Edward Betancourt, Director of Special
Consular Services, US Department of State, 2100 Pennsylvania Avenue
NW, Washington, DC 20520 on 6/17/05 by Registered Mail # 7001 2510
| 0005 6700 4361. Filed In Associated Cases: 1:03-md-01570-RCC, 1:04-
cv-01076-RCC(ps, ) (Entered: 08/17/2005)

CLERK CERTIFICATE OF MAILING RECEIVED for Summons &
Third Amended Complaint mailed to Islamic Republic of Iran on 6/17/05
by Registered Mail #7001 2510 0005 6700 4361, RECEIVED ON:
6/24/05. Filed In Associated Cases: 1:03-md-01570-RCC,]1 :04-cv-01076-
RCC(ps, ) Because the US does not maintain diplomatic relations with
the government of Iran, the Department of State is assisted by the Foreign
Interests Section fo the Embassy of Switzerland in Teheran in delivering

| these documents to the Iranian Ministry of Foreign Affairs. The
documents were delivered to the Iranian Ministry of Foreign Affairs on
9/7/05 under cover of diplomatic note numbered 1049 IE dated 9/6/05.
While 28 U.S.C. 1608(c)(1) provides that service via the diplomatic

| channel is effective as of the date of delivery of the diplomatic notes, the
documents were subsequently returned to the Foreign Interests Section of
the Swiss Embassy in Teheran. The US State Department sees no reason
for this to invalidate the effectiveness of service. Modified on 10/20/2005
(ps, ). (Entered: 08/17/2005)

1128 |CLERK CERTIFICATE OF MAILING of Summons & Third Amended
Complaint mailed to Ali Fallahian at the following address: Ali Fallahian
Iranian Minister of Intelligence and Security, c/o Edward Betancourt,
Director of Special Consular Services, US Department of State, 2100
| Pennsylvania Avenue NW, Washington, DC 20520 on 6/17/05 by
Registered Mail # 7001 0360 0003 1064 1457. Filed In Associated Cases:
| 1:03-md-01570-RCC,1:04-cv-01076-RCC(ps, ) Modified on 8/17/2005
| (ps, ). (Entered: 08/17/2005)

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| CLERK CERTIFICATE OF MAILING RECEIVED for Summons &
Third Party Complaint mailed to Ali Fallahian on 6/1 7/05 by Registered |
Mail #7001 0360 0003 1064 1457, RECEIVED ON: 6/24/05. Filed In |
Associated Cases: 1:03-md-01570-RCC,1 :04-cv-01076-RCC(ps, )
(Entered: 08/17/2005)

CLERK CERTIFICATE OF MAILING of Summons & Third Amended |

Complaint mailed to Iranian Revolutionary Guard Corp. at the following |

address: Iranian Revolutionary Guard Corp. Ministry of Foreign Affiars, |

c/o Edward Betancourt, Director of Special Consular Service, US

Department of State, 2100 Pennsylvania Avenue NW, Washington, DC |

20520 on 6/17/05 by Registered Mail # 7001 0360 0003 1064 1471. Filed
In Associated Cases: 1:03-md-01570-RCC,1:04-cv-01076-RCC(ps, )

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Case 1:03-md-01570-GBD-FM Document 2906-3 Filed 10/31/14 Page 3 of 4

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| 06/17/2005 CLERK CERTIFICATE OF MAILING RECEIVED for Summons and

| 10/20/2005 (ps, ). (Entered: 08/17/2005)

'06/ 17/2005 |1130 |CLERK CERTIFICATE OF MAILING of Summons & Third Amended
Complaint mailed to Ayatollah Ali Hoseini-Khamenei at the following
address: Ayatollah Ali Hoseini-Khamenei c/o Edward Betancourt,
Director of Consular Services, US Department of State, 2100
Pennsylvania Avenue NW, Washington, DC 20520 on 6/17/05 by
Registered Mail # 7001 0360 0003 1064 1488. Filed In Associated Cases:
1:03-md-01570-RCC, 1:04-cv-01076-RCC(ps, ) (Entered: 08/17/2005)

| 06/17/2005 | CLERK CERTIFICATE OF MAILING RECEIVED for Summons &

| | Third Amended Complaint mailed to Ayatollah Ali Hoseini-Khamenei
on 6/17/05 by Registered Mail # 7001 0360 0003 1064 14868,

RECEIVED ON: 6/24/05. Filed In Associated Cases: 1:03-md-01570-
RCC,1:04-cv-01076-RCC(ps, ) (Entered: 08/17/2005)

CLERK CERTIFICATE OF MAILING of Summons & Third Amended
| Complaint mailed to Mohammed Bager at the following address:

| Mohammed Bager Zolgadr, Iranian Revolutionary Guards Corp, c/o

i Edward Betancourt, Director of Special Consular Services, US
Department of State, 2100 Pennsylvania Avenue NW Washington, DC

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| 20520 on 6/17/05 by Registered Mail # 7001 2510 0005 6700 4385, Filed
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| CLERK CERTIFICATE OF MAILING RECEIVED for Summons &
Third Amended Complaint mailed to Mohammed Bager on 6/17/05 by
Registered Mail # 7001 2510 0005 6700 43 85, RECEIVED ON: 6/24/05.
Filed In Associated Cases: 1:03-md-01570-RCC,1 :04-cv-01076-RCC(ps,
) (Entered: 08/17/2005)

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Case 1:03-md-01570-GBD-FM Document 2906-3 Filed 10/31/14 Page 4 of 4

06/17/2005 | 1132

CLERK CERTIFICATE OF MAILING of Summons & Third Amended
Complaint mailed to Iranian Revolutionary Guard Corp-Quds Force, aka
Jerusalem Force at the following address: Iranian Revolutionary Guard
Corp-Quds Force, aka Jerusalem Force c/o Edward Betancourt, Director
of Special Consular Services, US Department of State, 2100
Pennsylvania Avenue NW, Washington, DC 20520 on 6/ 17/05 by
Registered Mail # 7001 2510 0005 6700 4408, Filed In Associated Cases:
1:03-md-01570-RCC,}:04-cv-01076-RCC(ps, ) (Entered: 08/17/2005)

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CLERK CERTIFICATE OF MAILING RECEIVED for Summons &
Third Amended Complaint mailed to Iranian Revolutionary Guard Corp-
Quds Force, aka Jerusalem Force on 6/17/05 by Registered Mail # 7001
2510 0005 6700 4408, RECEIVED ON: 6/24/05. Filed In Associated
Cases: 1:03-md-01570-RCC,] :04-cv-01076-RCC(ps, ) (Entered:
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CLERK CERTIFICATE OF MAILING of Summons & Third Amended
Complaint mailed to Iranian Ministry of Intelligence and Security at the
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Edward Betancourt, Director of Special Consular Services, US
Department of State, 2100 Pennsylvania Avenue NW, Washington, DC
20520 on 6/17/05 by Registered Mail # 7001 0360 0003 1064 1464, Filed
In Associated Cases: 1:03-md-01570-RCC, 1 :04-cv-01076-RCC(ps, )
(Entered: 08/17/2005)

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CLERK CERTIFICATE OF MAILING RECEIVED for Summons &
Third Amended Complaint mailed to Iranian Ministry of Intelligence and
Security on 6/17/05 by Registered Mail #7001 0360 0003 1064 1464,
RECEIVED ON: 6/26/05. Filed in Associated Cases: [:03-md-01570-
RCC, 1:04-cv-01076-RCC(ps, ) Because the US does not maintain
diplomatic relations with the government of Iran, the Department of State
is assisted by the Foreign Interests Section fo the Embassy of Switzerland
in Teheran in defivering these documents to the iranian Ministry of
Foreign Affairs. The documents were delivered to the Iranian Ministry of
Foreign Affairs on 9/7/05 under cover of diplomatic note numbered 1050
IE dated 9/6/05, While 28 U.S.C. 1608(c)(1) provides that service via the
diplomatic channel is effective as of the date of delivery of the diplomatic
notes, the documents were subsequently returned to the Foreign Interests
Section of the Swiss Embassy in Teheran. The US State Department sees
no reason for this to invalidate the effectiveness of service, Modified on
10/20/2005 (ps, ). (Entered: 08/17/2005)

